               Case 22-11068-JTD              Doc 20043          Filed 07/10/24         Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al.,1                                       Case No. 22-11068 (JTD)

                                         Debtors.                (Jointly Administered)


         DECLARATION OF STEVEN P. COVERICK IN SUPPORT OF DEBTORS’
          OBJECTION TO PROOF OF CLAIM FILED BY IPV FTX CO-INVEST

                 I, Steven P. Coverick, hereby declare under penalty of perjury:

                 1.        I am a Managing Director at Alvarez & Marsal North America, LLC

(“A&M”), a restructuring advisory services firm specializing in interim management, crisis

management, turnaround consulting, operational due diligence, creditor advisory services, and

financial and operation restructuring.

                 2.        I have more than 10 years of restructuring and financial advisory experience

across various industries, including energy, technology, media, telecommunications, logistics, and

healthcare. I have a Bachelor’s Degree from the Kelley School of Business at Indiana University,

am a CFA® charterholder, and am recognized as a Certified Turnaround Professional by the

Turnaround Management Association.

                 3.        Since joining A&M, I have been involved in numerous Chapter 11

restructurings, including Seadrill Limited, iHeart Media Inc., White Star Petroleum Holdings,

LLC, Templar Energy LLC, and Expro International Group Holdings Limited.



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
    4063, respectively. Due to the large number of debtor entities in these Chapter 11 cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
               Case 22-11068-JTD             Doc 20043        Filed 07/10/24         Page 2 of 3




                 4.       I submit this declaration (the “Declaration”) in support of the Debtors’

Objection to Proof of Claim Filed By IPV FTX Co-Invest (the “Objection”).2 I am not being

compensated separately for this testimony other than through payments received by A&M as

financial advisor retained by FTX Trading Ltd. and its affiliated debtors and debtors-in-possession

(collectively, the “Debtors”).

                 5.       Except as otherwise indicated herein, all of the facts set forth in this

Declaration are based upon my personal knowledge, my review of relevant documents,

information provided to me by the Debtors’ management, the Debtors’ and other Debtor

professionals, including the A&M team, involved in advising the Debtors in the above-captioned

cases (the “Chapter 11 Cases”). If called upon to testify, I could and would testify to the facts set

forth herein on that basis. I am authorized to submit this Declaration on behalf of the Debtors.

                 6.       The Claims subject to the Objection were reviewed and analyzed in good

faith using due diligence by appropriate personnel of the Debtors, A&M, and Kroll Restructuring

Administration LLC, as the Debtors’ claims and administrative agent. Indeed, the Debtors and

their advisors have spent months reviewing and analyzing proofs of claim and any supporting

documentation filed against the Debtors.

                 7.       Based on the Debtors’ and their advisors’ ongoing analysis and review, the

Debtors and their advisors have determined that Debtors canceled stock certificates CS-034 and

PB1-023 held by XN Exponent Master Fund LP as 76,308 Common Shares and 19,077 Series B-

1 Preferred Shares were transferred to IPV.




2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Objection.

                                                       -2-
             Case 22-11068-JTD        Doc 20043      Filed 07/10/24     Page 3 of 3




               8.     I also submit this declaration in support of Debtors’ Objection to Proof of

Claim Filed by IPV FTX Co-Invest (the “Objection”), filed concurrently herewith, to place before

the Court certain documents and information referred to in the Objection.

               9.     Attached hereto are true and correct copies of the following documents:

 Wire confirmation showing the receipt of a domestic wire of $3,147,705.00 by XN
                                                                                      Exhibit 1
 Exponent Master Fund LP, dated September 22, 2022.

 FTX Trading Ltd. Board Resolution dated September 23, 2022 and signed by Sam
                                                                                      Exhibit 2
 Bankman-Fried and Nishad Singh.

 Carta Records for FTX Trading Ltd. Stock Certificate PB1-112.                        Exhibit 3

 U.S. Securities and Exchange Commission Edgar Filing Company Search
 webpage,     last   visited    June     8,   2024     and   available at
                                                                                      Exhibit 4
 https://www.sec.gov/Archives/edgar/data/1939360/0001939360-22-000001-
 index.htm.

               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.

 Dated: July 10, 2024                             /s/ Steven P. Coverick
                                                  Steven P. Coverick
                                                  Alvarez & Marsal North America, LLC
                                                  Managing Director




                                               -3-
